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                 IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF MARYLAND

GARY WASHINGTON,

                Plaintiff

        v.                               Case No. 1:19-cv-02473-GLR

BALTIMORE POLICE DEPARTMENT,
THOMAS PELLEGRINI, OSCAR                 Judge Stephanie A. Gallagher
REQUER, RICHARD FAHLTEICH,
JOHN TEWEY, FRED CERUTI, JOHN
MACGILLIVARY, UNKNOWN                    JURY TRIAL DEMANDED
EMPLOYEES OF THE BALTIMORE
POLICE DEPARTMENT, AND MAYOR
AND THE CITY COUNCIL OF
BALTIMORE,

               Defendants


                                       ORDER


      Upon consideration, Plaintiff’s Motion For Extension of Time is GRANTED.
Plaintiff has up until and including January 7, 2020 to respond to Defendants’
Motion to Dismiss, Dckt No. 29.




Date:


Signed:
              Stephanie A. Gallagher, Judge
              UNITED STATES DISTRICT JUDGE
